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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                           )
 In re:                                                    ) Chapter 11 (Subchapter V)
                                                           )
 FREE SPEECH SYSTEMS, LLC,                                 ) Case No. 22-60043 (CML)
                                                           )
                          Debtor.                          )
                                                           )

              NOTICE OF BANKRUPTCY RULE 2004 EXAMINATION OF
           PQPR HOLDINGS LIMITED, LLC BY THE SANDY HOOK FAMILIES

          Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Local Rule 2004-1 of the United States Bankruptcy

Court for the Southern District of Texas (the “Local Rules”), PQPR Holdings Limited, LLC

(“PQPR”) is commanded to produce documents and electronically stored information (“ESI”),

and respond to the request for production (the “Request”), identified in the attached Exhibit A, to

Avi Moshenberg, McDowell Hetherington, LLP, 1001 Fannin Street, Suite 2700 Houston, Texas

77002, and by electronic mail to the undersigned, counsel to Neil Heslin, Scarlett Lewis, Leonard

Pozner, Veronique De La Rosa, and Marcel Fontaine (collectively, the “Texas Plaintiffs”) and

David Wheeler, Francine Wheeler, Jacqueline Barden, Mark Barden, Nicole Hockley, Ian

Hockley, Jennifer Hensel, Donna Soto, Carlee Soto Parisi, Carlos M. Soto, Jillian Soto-Marino,

William Aldenberg, William Sherlach, and Robert Parker (collectively, the “Connecticut

Plaintiffs,” and together with the Texas Plaintiffs, the “Sandy Hook Families”), no later than

February 11, 2023 at 5:00 p.m. CT (the “Production Date”).

          Please take further notice that the Sandy Hook Families reserve their rights under title 11

of the United States Code (the “Bankruptcy Code”), the Bankruptcy Rules, the Local Rules, and

any applicable law regarding the subject matter of this Notice and to amend, supplement, and/or




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modify Exhibit A attached hereto in accordance with the Bankruptcy Code, the Bankruptcy Rules,

the Local Rules, and other applicable law.

 Dated: January 12, 2023

                                                   Respectfully submitted,

  MCDOWELL HETHERINGTON LLP                        CAIN & SKARNULIS PLLC
  By: /s/ Avi Moshenberg                           By: /s/ Ryan Chapple
  Avi Moshenberg                                   Ryan E. Chapple
  State Bar No. 24083532                           State Bar No. 24036354
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  CHAMBERLAIN, HRDLICKA,                           KOSKOFF KOSKOFF & BIEDER PC
  WHITE, WILLIAMS & AUGHTRY, PC                    Alinor C. Sterling (admitted pro hac vice)
  By: /s/ Tyler W. Greenwood                       350 Fairfield Avenue
  Jarrod B. Martin                                 Bridgeport, CT 06604
  State Bar No. 24070221                           Telephone: (203) 336-4421
  Tyler W. Greenwood                               Email: asterling@koskoff.com
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  Fax: (713) 658-2553                              Martin J. Salvucci (admitted pro hac vice)
  Email: jarrod.martin@chamberlainlaw.com          1285 Avenue of the Americas
          tyler.greenwood@chamberlainlaw.com       New York, NY 10019
  Co-Counsel to the Texas Plaintiffs               Telephone: (212) 373-3000
                                                   Fax: (212) 757-3990
                                                   Email: kkimpler@paulweiss.com
                                                   Email: msalvucci@paulweiss.com

                                                   Co-Counsel to the Connecticut Plaintiffs




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                              CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 2004-1, I hereby certify that counsel for the Sandy Hook Families
emailed counsel for PQPR about the Sandy Hook Families’ Rule 2004 request in the form reflected
in Exhibit A on December 21 and 27, 2022 but PQPR’s counsel never responded.

                                               /s/ Avi Moshenberg
                                               Avi Moshenberg




                                 CERTIFICATE OF SERVICE
         I certify that on January 12, 2023, a true and correct copy of the foregoing and the attached
Exhibit A was served electronically on all parties registered to receive electronic notice of filings
in this case via this Court’s ECF notification system.

                                               /s/ Tyler W. Greenwood
                                               Tyler W. Greenwood




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                                            EXHIBIT A

                                          DEFINITIONS

       The following definitions apply to the Request. Unless otherwise defined herein, all words

and phrases used herein shall be accorded their usual meaning and shall be interpreted in their

common, ordinary sense.

       1.      The term “Affiliate” or “Affiliates” shall have the meaning ascribed to the term

“Affiliate” under 11 U.S.C. § 101(2).

       2.      The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all of these terms.

       3.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a Request all Documents or responses that

might otherwise be construed to be outside of its scope.

       4.      The term “Communication” shall mean the transmittal of information (in the form

of facts, ideas, inquiries, or otherwise). For the avoidance of doubt, this may encompass any oral,

written, or electronic transmission of information without limitation, including meetings,

discussions, conversations, telephone calls, email messages, text messages, Bloomberg messages,

chat messages, Instant Bloomberg chat messages, social media messages (e.g., Facebook),

WhatsApp chat messages, GroupMe chat messages, or other messaging platforms, memoranda,

letters, analyst reports, telecopies, telefaxes, telexes, conferences, seminars, messages, notes, video

tapes, photographs, microfilm, microfiche, magnetic disks, or other media of any kind.

       5.      The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of the term “documents or electronically stored information” in Fed. R. Civ. P.

34(a)(1)(A), including but not limited to all writings, drawings, graphs, charts, photographs, sound

recordings, images, electronically stored information, and other data or data compilations. This



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includes documents stored in any medium from which information can be obtained either directly

or, if necessary, after translation by the responding party into a reasonably usable form, including

but not limited to emails, texts, chats, spreadsheets, and power points. A draft or non-identical

copy is a separate document within the meaning of this term.

        6.      The term “including” shall mean “including, but not limited to.”

        7.      The term “Person” shall mean any natural person or any legal entity, and their

Affiliates and Professionals, including, without limitation, any business or governmental entity or

association.

        8.      The terms “You”, and “Your” shall mean PQPR Holdings Limited, LLC and any of

its affiliates, parents, subsidiaries, predecessors and successors in interest, and any of its former or

current employees, members, managers, officers, directors, beneficial owners, agents, advisors,

attorneys, Professionals, or anyone else acting on its behalf.

        9.      The term “Professional” shall mean any Person or entity engaged to provide or

involved in providing professional services of any kind at any time, including without limitation,

any attorneys, consultants, independent contractors, advisors, and testifying or non-testifying

experts.

        10.     The term “Trustee” shall mean the subchapter V trustee appointed in the above-

captioned case, and any of its former or current employees, agents, advisors, attorneys,

Professionals, or anyone else acting on its behalf.

        11.     The definitions described above shall apply regardless of whether such term is

capitalized or not capitalized.

        12.     Any references to a Person shall be deemed to include such Person’s agents,

accountants, advisors, employees, attorneys and other Professionals, officers, directors, direct or




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indirect shareholders, members, representatives, Affiliates, subsidiaries, predecessors, successors,

assigns, or any other individual or entity acting or purporting to act on behalf of such Person.

       13.     The use of any singular noun shall be construed to include the plural, and vice

versa, and a verb in any tense shall be construed as the use of the verb in all other tenses.

                                         INSTRUCTIONS

       1.      These instructions incorporate by reference the requirements and duties of the

Federal Bankruptcy Rules, the Federal Rules, and the Local Rules.

       2.      Each Request is continuing in nature.        If at any time additional Documents

responsive to the Request come into Your possession, custody, or control or are brought to Your

attention, prompt supplementation of Your response to this Request is required.

       3.      You are requested to produce all Documents and information requested herein that

are within Your possession, custody, or control or in the possession, custody, or control of Your

current and former officers, directors, agents, employees, representatives, Affiliates, Professionals,

or any other Person or entity acting or purporting to act on Your behalf.

       4.      All Documents shall be produced in TIFF format with OCR images, provided,

however, that documents in Excel format shall be provided in native format. All Documents shall

be produced with metadata, including but not limited to the date created/sent, author, recipients,

cc-copies, bcc-blind copies, and whether the document contains redactions.

       5.      If the response to any Request consists, in whole or in part, of an objection on the

basis of or including burdensomeness, then provide those documents that can be produced without

undue burden. For such documents that are too burdensome to produce, describe the process or

method required to obtain said documents, the quantity and location of the documents involved,

and the estimated costs of the search.




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        6.      Any Document or other information that falls within the scope of this Request that

is withheld on the basis of a claim of privilege, work product protection, or any other grounds

should be identified in writing by date, title/file name/“re line”/subject, addressee/to/cc/bcc,

addressor/from, document type, and topic covered and listed with a statement of the grounds

alleged for withholding such document, communication, or other information, including any

common interest or joint defense privilege claimed.

        7.      If Your response to any Request is any other objection, You must indicate if

information is being withheld based on the objection(s), provide all information not covered by

the objection, and state the specific basis of the objection.

        8.      If any Document responsive to this Request has been destroyed, state when the

Document was destroyed, identify the Person who destroyed the Document, and the Person who

directed that it be destroyed. Additionally, detail the reasons for the destruction, describe the nature

of the Document, identify the Persons who created, sent, received, or reviewed the Document, and

state in as much detail as possible the contents of the Document.

        9.      Subject to Instruction No. 4 above, Documents should be produced in the manner

they are kept in the ordinary course of business. In producing Documents, all Documents that are

physically attached to each other, or segregated or separated from other Documents, when

originally located, should be produced as is.

        10.     Except where otherwise specified, the Request seeks Documents dated, created, or

otherwise obtained at any time through the date of Your response. For the avoidance of doubt, this

Request seeks Documents created before and after the Petition Date.




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       11.     By serving this Request, the Sandy Hook Families reserve all rights, do not waive

any of their rights, and expressly reserve the right to modify or otherwise to supplement this

Request.

                               REQUEST FOR PRODUCTION

       1.      Produce all Documents and Communications that You have provided to the Trustee

through the Production Date and all Documents and Communications that You will provide to the

Trustee after the Production Date.




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